            Case 2:21-cv-01216-CCW Document 1 Filed 09/13/21 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 ALLAN GATTO,                                      :
                                                   :
                Plaintiff,                         :
                                                   :
         v.                                        : CASE NO. 2:21-cv-1216
                                                   :
 PORTFOLIO RECOVERY                                :
 ASSOCIATES, LLC,                                  :
                                                   :
                Defendant.                         :
                                                   :


                                    NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that on this date, Defendant Portfolio Recovery Associates,

LLC hereby removes the above-captioned matter to this Court from the Court of Common Pleas

of Allegheny County, Pennsylvania and in support thereof avers as follows:

       1.      Portfolio Recovery Associates, LLC is a defendant in a civil action originally

commenced by Praecipe for Writ of Summons on or about December 7, 2020 in the Court of

Common Pleas of Allegheny County, Pennsylvania titled Allan Gatto v. Portfolio Recovery

Associates, LLC and docketed to Case No.: GD-20-012340.

       2.      Plaintiff filed his Complaint on August 13, 2021.

       3.      This removal is timely under 28 U.S.C. § 1446(b). PRA received service of

Plaintiff’s Complaint by first class mail on August 17, 2021.

       4.      Pursuant to 28 U.S.C. § 1446, attached hereto as Exhibit A are copies of all

pleadings, process and orders filed in the state court action.




                                                  1
            Case 2:21-cv-01216-CCW Document 1 Filed 09/13/21 Page 2 of 3




       5.      The District Court has original jurisdiction over this action pursuant to 28 U.S.C. §

1331, in that Plaintiff has filed claims against PRA alleging violations of the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq.

       6.      On this date, PRA has provided notice of this Removal to counsel for Plaintiff and

to the Court of Common Pleas of Allegheny County, Pennsylvania.

       WHEREFORE, Defendant Portfolio Recovery Associates, LLC respectfully removes this

case to the United States District for the Western District of Pennsylvania.

                                      Respectfully submitted,

                                      MESSER STRICKLER, LTD.

                              By:     /s/ Lauren M. Burnette
                                      LAUREN M. BURNETTE, ESQUIRE
                                      PA Bar No. 92412
                                      12276 San Jose Blvd.
                                      Suite 718
                                      Jacksonville, FL 32223
                                      (904) 527-1172
                                      (904) 683-7353 (fax)
                                      lburnette@messerstrickler.com
                                      Counsel for Defendant

Dated: September 13, 2021




                                                 2
          Case 2:21-cv-01216-CCW Document 1 Filed 09/13/21 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I certify that on September 13, 2021, a true copy of the foregoing document was served on

all counsel of record by electronic service.



                                      MESSER STRICKLER, LTD.

                               By:    /s/ Lauren M. Burnette
                                      LAUREN M. BURNETTE, ESQUIRE
                                      PA Bar No. 92412
                                      12276 San Jose Blvd.
                                      Suite 718
                                      Jacksonville, FL 32223
                                      (904) 527-1172
                                      (904) 683-7353 (fax)
                                      lburnette@messerstrickler.com
                                      Counsel for Defendant

Dated: September 13, 2021




                                               3
